            Case 1:24-cv-05193-JPC     Document 5          Filed 07/10/24    Page 1 of 2




JAMES MURPHY, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                  No. 1:24-cv-05193




BLADE URBAN AIR MOBILITY, INC.,




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       7/10/2024                                                s/ G. Pisarczyk
Case 1:24-cv-05193-JPC   Document 5   Filed 07/10/24   Page 2 of 2


1:24-cv-
